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Karen Carter Peterson
_ 2886 Valence Street
New Orleans, Louisiana 70115

 

September 9, 2022

The Honorable Sarah S. Vanco
United States District Court
Hastern District of Louisiana -
500 Poydras Street

Room C255

New Orleans, Louisiana 70130

Re: United States vs. Karen Carter Peterson
Dear Judge Vance!

Tam humiliated and remorseful for my actions. I have spent my entire adult life j in
public service, trying to help people and make a difference. Tt pains me greatly
knowing that T have betrayed that trust and underminéd people’s confidence i in our
system of governance and the legal profession. T built a long and storied, reputation
for honesty, and integrity and sadly. let my constituents and the profession down.

I also have deeply embarrassed friends, donors, colleagues, and family, especially.
my hushand Dana and my mother Gwen, who have been supportive beyond
measure. 1 haye struggled with a severe addiction for almost thirty years, which I
managed, to keep hidden from everyone except those closest to me. They bailed me
out repeatedly é as I tried to conquer my demons, only to relapse during difficult,
challenges. I have begun to make amends and remain cominitted to rebuilding those
relationships once Tam done with my legal ordeal,

Please understand that I make no excuses, I accept full responsibility for my
actions. I am truly somry and have made complete restitution to the two entities I

" harmed. I also stand ready to accept the consequences for my actions. I thank your
Honor for this opportunity to share some of my story and hope that you might
consider tempering justice with mercy in reaching your determination.

Background:

I was born in New Orleans on November 1, 1969, to Kenneth and Gwendolyn,
Carter, They lived just blocks from each other growing up and, met at a Boys and
Girls State Leadership Conference when they were sixteen. They married j in 1965, I

EXHIBIT

    

    

 
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have two sisters, ‘lara, born in 1966, and Bileen, bora in 1978, I was named after
both my grandmothers, combining my first and middle names.

My mother began college at St, Maxy’s Dominican hut left before obtaining a degree
to help support the family, She worked as a licensed practical nurse in a local
housing project and as an administrator in the rectory for her priest.

My father attended Loyola University on a Physics scholarship but left after
freshman year duc to a traumatic incident. My father eaitned a spot on the
-basketball team, and duting the season, the coach of another team, said, "we won't
Play ifthe nigger plays." The coach sat my father for that game, which profoundly
impacted him. He dropped out to work at Texaco as a draftsman but never gave up

on his dream of earning a degree. —

When I was five, my father and mother sat down to have a serious convérsition
about their future. My fathor wantod to return to achool to obtain a cdllege and Jaw
degree, He promised my mother that she'd never have to work againifshe played

the primary role in supporting the family while he attended to his studies. My

parents were.ambitious, both obtaining real estate liceriges io oarn extra income,

My father algo zefetved basketball gamés. My mother took on extra shifts, and thoy

both gold real estate during this time. My mother sewed all our clothes, cooked,

cleaned ahd tended to the household as our parents scrimped and saved, We wore

poor but never felt disadvantaged, thanks to my parents’ love and sacrifice fox ‘Tara
and my education, ES

pag cee

housshold barely knowing her father and holping to raise her younger éiblings, She
craved order as hor undiagnosed obgessive'compulsive disorder madg her yery -- -

demanding. Tara and I had chores after school and on weekends, hélping to clean
the hoyse anid yard, According to my wiother, there was only “one cortect way” to do
things, and we.got punished if we didn’t follow exact, meticulous instructions, =

ly parents were also. very demanding when it camo to school. They sacrificed
greatly to send Tare, and me to private Catholic school and reminded mo constantly
as my mediocre grados frustrated them. Tara-was excellent at sporisandan
overachiover at school. I was not athletivally inclined and never fully applied myself
- to my studies. I felt frustrated living in ‘Tara’s shadow and had a rebellious streak
that led to many punishments. I might get hit with a belt or be aent to my yoom,
ntissing family events. I found it difficult to control my impulses as a child, even as 1 -
loathed being excluded from activities. ees

 

My grandparents played a huge r ole in my life. My maternal grandmother, Myrtle,
was a domestic and had a jab cleaning planes.at the airport. She was a regular at
the racetrack where everyone knew “granny.” She'd come to our home with donuts

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. My parents ran. 4 strict but loving household. My mother grew up ina single parent

 
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and talk about racing. My great aunt, Auntie Maude, would also visit and share
stories of her work as a maid for wealthy white people, fueling my ambition to make
somothing of myself

My paternal grandfather was an ‘auto mechanic, and. my prandmother WAS &
homemaker. My grandfather was a hard worker and did most of his work for
African American and Jewish people in our racially segregated city. He had an
excellent reputation for quality service. My grandmother was a fantastic cook,
community activist, and active church member. Both sets of grandp aronts were
‘practicing Catholics. I learned 80 much about the importance of givitig back to the
community from spen ding time with them, growing up.

We initially belonged to a, prodominantly white church where I also attended school
at St. Francis Cabiini, as my parents raised us Roman Catholic, My. father briefly
stopped attending when I was eight because the Pastor hadgored him for additional
weekly offerings, as my parents did all they could to stay afloat financially while
paying our tuition., .

. When I was around ten, we ewitched to Saint Monica Catholic Chirch, where my
parents. had gtown, up and gotten married. It had a predominantly black
congregation. I got. héavily involved in the youth choir (and later, adult, choi),
where the choir. director, Veronica Downs, became like a big sister to mo, I also
volunteered i in church as a mentiber of the Church Youth Organization and
eventually became president. My mother volunteered with senior citizens. Active
prirticipation | in church has played a vital role throughout my life,

In 1978, my father graduated with a joint degroe from Loyola Law School and the
University of Now Orleans. Later that same year, my sister Rileen.y was born on my
birthday. My grandfathor spoke highly of my father to a élient and helped got my
father his first legal job, clerking at a Jewish-owned law firm, They hired my father
after law school, and he worked hand-in-hand with the owner's sons, who were iny
father's contemporaries. They eventually offered my father a partneiship, but he
turned it down to open his own firm Carter & Cates, with his friend Sidney when I
was A teenager. —

I enjoyed. a diverse upbringing as a child, Iwas one of the few African American
children at school. Most students c came from affluent families, while mine was of
very modest moans as my parents struggled to provide Tara and me with, a better
life full of opportunity. Talso attended summer cainp at the Jewish Community
Center (and visited Israel three times as an adult). I learned how to get along with
everyone and developed a great appreciation for the value in people! a differences
that would serve me 6 well as I entered political life.

 
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Hducation:

T attended kindergarten through eighth grade at St. Francis Cabrini. I was outgoing
and gregarious, getting along well with other children. As I mentioned, I did not

. earn excellent grades, just average, but it wasn't for lack of capability. My teachers
regularly told my parents I could do better if I applied myself.

Part of my issues stemmed from impulse control, as I would get in trouble for
disrupting class and sceking attention, I also felt I would never be able to do az well
__ as Tara (who lator graduated from Loyola and earned hor master's degree at MIT
"after getting her real estate broker, agent, and appraisal licensos before ago twenty-
one), [remember my mother always saying, “why can’t yoii be more like Tara,” ]
mostly éarned As, Bs, or Cs, but the occasional D would get me in serious trouble
with my parents. My parents’ punishments for bad grades had a minimal impact on

iny performance,

 

| from the age of cight or nine, I began to tag along with my father to meetings as he
‘hecame politically active. I'd help stuff envélopes to send mailers, knock on, doors
and take calls from phone banks using scripts. I'd advocate for candidatés,
knowing little about who they were, because I enjoyed the engagement with people.
The adults I worked with endearingly called mo Tiger because of my tenacity and
told me I'd become the first woman Mayor. My confidence grew considerably as a |

young adult from this éxpérience.

I joined the Girls Scouts, whero I went camping and engaged in community projects
and clean-ups, further fueling my desire for public service. I worked at the Dryados
YMCA during the suramors from seventh grade through high school, helping
underprivileged children, pe oS

I attended the all-girls Mercy Academy, a Catholic High School, as one of eight
black girls in a class of eighty-eight. I felt, ostracized and-had a challenging
experience. It was the first time I ever felt discrimination, as students would come .
to class on Mondays discussing the fun parties and get-togethers they had, nono of
which I'd ever be invited to. I chose to focus my time working with my. father at hig
law firm and getting involved in politics, My older sister, Tara, became my father's
‘office manager, and I'd handle filing, answering the phone, and cleaning up around

 
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the office. I also began volunteoring to tutor underprivileged youth to help thom
with homework and reading. os :

As for politics, my father helped elect New Oxleans' first black Mayor in 1978 and
became a early member of the Black Organization for Leadership Deyelopment,
They focused on enfranchising black people and getting them interested and .
involved in the political process. My father later got elected as the first black tax

- assessor in the late nineteen eighties, shortly after starting his firm, Our family felt
' go proud of him for all his incredible achievements and for serving with honor and
integrity. I followed his lead and that of my grandparents to become actively
‘involved, stemming from a deep desire to engage in community service and give

back to the commuliity.

My grandmother died of breast cancer at fifty-six when I was a freshman in high
school. It felt highly traumatic as we watched this strong, wonderful woman who
raised three children on her own suffer and fade away. My grandmother's proud
work as a domestic to.support her family served as a stark reminder of how wnuch
my family had sacrificed and how far we'd come. Our family motiog are "nover give
up" and “pay it forward,” and I felt internal pressure never to squander the .
opportunities I had been given. My mother now owns the house, and my litile sister
lives there, but all I can envision every time I visit is my grandmother wasting
away. oe oe

engaged in high school as a member of the Red Cross. Team, Pep Squad, Math
Games, the Vice president of the Student Council, and, for a short while, on the
basketball team. This compelled me to keép my grades up since ry parents
wouldn't let me participate if they werén't up to par. At age sixteen, I developed a
taste for drinking with my friends, who were mostly misfit, like me, because we
didn't fit in. on , Oo

Baily Adulthood

I graduated high school in 1987 and decided to attend Loyola like my sister Tara.

After freshman year, I earned a summer internship with Congressman Billy Tauzin
and thoroughly enjoyed the atmosphere. So much so that I decided to transfer to
Howard University go I could stay in the Washington, D.C. area, That summer, I

also met and began dating Anthony Robinson, who would become my first husband
five yoars later, .

While at Howard,-I was studying intornational business and marketing. I thought I
wanted to be a lawyer, but I also had a passion for international business and
marketing. I wanted to keep my options open.'I also worked part-time for U.S.
Senator John Breaux and then as an intern:at a law firm doing utility regulatory

 
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work. I spent a good amount of time lobbying and worked with congressional staff
crafting utility legislation. vo 4

 

Tearned avérage grades in college while working a part-time job at a local piziza
joint and serving as an active member of the business fraternity Delta Sigma Pi, in
addition to nay political work. I graduated in 1991 with a Bachelor of Business
Administration focused ona concentration in international business and marketing,

I wanted to join the Peace Corps after graduation, but my father strongly disagteod
since he wanted me to go directly to law school. So, I gnrolled at Tulane Law School
working in roy father’s office during my first year, OS

Anthony had enrolled in a joint program, law school at the University of Virginia
(UVA) , and a political degree at Harvard's Kennedy School of Government. He came
to vasit mé in New Orleans, and we then began a drive up to Bostox, where f would
jobyhini, taking a year off from law school. We stopped one hour into our drive and
decided to get married. I called my parerits from an Applebee's, telling them the _
wedding would be next week in Washington, D.C., where Anthony's parents lived,
Tn August 1992, we were married and in Bogton, The marriage almost immediately

began falling apart.

T got a job in Boston at Ropes and Gray as a paralegal, but I wanted to be back in
school, ‘Tulane agreed to allow me to participate in a Visiting program over the next
. two years while I would be away. I attended Boston College Law School spring
semester. That surimer, Anthony and I retuied to Now Orleans, where I worked
for my fathor and Anthony had summer associate jobs at two law firtis. We then
moved to Virginia for his program. I worked as a paralegal that fall at a small local
law firm and attended UVA law school in the spring. Avithony graduated in the -
spiing of 1994 and accepted a.job offer in New Orleans. I returned to Tulane for a
‘final semester, during which tiine Anthony and I got divorced. I found it difficult to
understand my marriage as a failure, I cared about, Anthony. and had my. parents’
martiagé as a role model, In retrospect, we simply had trust issues we wero both too
immature to overcome. oo oO

 
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The Beginning of my Gambling Addiction:

[joined my father and the rest of the family on a political junket to the Bahamas at:
age sixteen. I sat next to my father's friend at a high-limit blackjack table, and he
wanted to play multiple hands. The casino wouldn't let him, so he sat me in the
chair next to him, I watched in awe as he went on a hot streak and gave me $600 .
from the winnings a8 compensation. Do

Iwas twenty-five the next time I gambled in a casino. I was sop arated from.
Anthony arid felt desperately sad. I borrowed. money from Anthony’s mom to cover
my gambling debt, saying I needed it for bills. My parents discovered the truth and

bailed me out, paying back my debt.

In the late 1990s, | became depressed and again sought out gambling as a reloase. I
again lost more money than I’had, and my parents saved me. However, this time —
they insisted I get treatmont, and I checked myself into an inpatient drug and
alcohol abuse program at Methodist Hospital since no program existed for gambling
addiction, This began a long cyclo of me going in and out of treatment for gambling
the vest of my life. vo .

Over the last twonty plus years, J have worked with multiple therapists and joined
Gamblers Anonymous. I would xecovor for a while, but my progress always
inevitably ended in a relapse as I got too coinfortable in my recovéry and thought I
could manage my behavior without GA or counseling. I sotnehow managod to keep
imyzgambling problem a secret from everyone except may parents and futire |
husband, as I wore many professional hats. To hide my gambling, I would use the
excuse of being huay in one job as a reason for being absent in another.My
gambling got progressively worse the more money I earned over the years as I
gambled away millions of dollars. It is an insidious and baffling disease that causes
overwhelming eycles of guilt and shame, oo

My Career:

Throughout my ¢areer, I have had many jobs and positions of responsibility. I have
always thought of them as four separate aréas (i) my work in the Democratic party,
(i) my legislative sérvice as an elected state official, (iii) my legal work, and, Civ) my
consulting practice. At various points of iny life, depending on circumstance, one or
more has taken a greater priovity than the other. . mo .

I mostly worked in my father's law firm. until.he retired. I felt honordd:to work by
his side, He had such a forthright work ethic and addréssed every: case.with the
utmost integrity. I did my best to follow his lead. I went on to work as.counsel at

‘prominent law firms with offices in New Orleans and all over the world once he
retired, My legal work eventually led to consulting and providing strate gic advice.

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I won my first elected position at age eighteen as a delegate to the Democratic
National Convention. I got olected to the Louisiana house at age twenty-nine, where
I served ten years, the last two as speaker pro tem. In 2010, I successfully ran for
state senate, serving until April of 2022. In 2012, I became the Chairperson of the

- Louisiana Democratic Committee. T also ran for U.S. Congress twice and lost. -

While in the legislature, I fought for many important j issucs and dealt with
disasters that greatly impacted the people of our great state. In the aftermath of
Hurricane Katrina, I played an instrumental role in helping many people get back
in their homes and nayigate insurance issuos. I fought hard for education reform,
directly impacting the future of thousands of young pécple as we improved the
schools and entire education system, I also played, a key tole on isstes relating to
healthcare, making it more affordable and available to my constituents. I
consistently fought for the rights of women, children and the ‘underprivile ged.

L have won many awards and earned numerous. distinctions ehroughout my career
but arn. ‘particularly proud. of two of them. I was nominated to be one of two initial
recipionts of the JFK New Frontier Award duritig its inauguration,, This award was
created to annually recognize one person from politics and another from the public
sector for outstanding achievement. I felt especially honored receiving my prize
directly from Caroline Kennedy and the late Senator Hdward Kennedy, at Harvard
University.

I was algo one of twenty: ‘four people, half Democrat and half Ropublican, selected to
receive a Rodel Fellowship of Public Leadership ini its inaugural year. The
fellowship was created to foster civility and partnership to preserve respect for our
governmental. institutions. Other notable recipients that year included Gabby
Gitfords, Michael Steele (who became chairperson of: the Republican party), and
Tom Perez (who bocame chairperson of the Democratic party). It offered an
opportunity to travel around the world aa part of a Wworyear program. engaging in
serious dialogue and meeting with leaders from. around the world. Other notable
subsequent recipients in later years include Kamala Harris and Stacey Abrams,

I have faced many battles and challenges along tho way, relating to my race,

ponder, and progressive politics i in a largely conservative state. Yet, I have

persévered, winning people over through sheer determination and making friends

_ across the aisle. I always sought to overcome political differences by remembering -
we all had the people's best interests at heart, We simply had differont perspectives

 " on how to get thore, Yet, I couldn’t help but take each lost election or failed ”

legislative agenda personally. I folt passionate about my perspédtive on helping’
people. With every setback, I got depressed, triggering may co" ‘addictions to gambling
and drinking. Tt was a vicious oyele.

 
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My Personal Life:

f met Dana Peterson in 2002 through mutual friends at the Annual Black-Caueus in
Washington, D.C. He was living in New Jersey and working as a political
consultant for the-Democratic Party. We began. dating long-distance, and he

_ eventually came to live with me in Now Orleans. Dana had a hard time finding

. himself in Louisiana, working odd jcbs but not finding anything professionally
rewarding. We broke up, and he left shortly before Hurricane Katrina. :

Iwas in the legislature then, and Katrina slammed my district the hardest, i had
thinily and friends who had. lost everything. A short whilo after the hurricane hit, 1
‘was on a twenty-four-foot boat assessing the damage to my legislative district and
tity. I recall approaching Charity Hospite), and the patients and staff there began

_ thanking me for saving them when they saw. me. But there was nothing I could do. 1
had been a fixer and community servant all my adult life. 1 felt so traumatically
helpless not being able to save thei, Oo I

After working nonstop for six weeks on digaster recovery matters, Ibecame .-
overwhelmed by the disaster and my government responsibilities. I escaped to Now
Jérsey to visit Dana, He went to work, and I hit the casinos of Aélantio City every
day, losing all my money on one of my bingos but hid my addiction from him for fear _

he'd abandon me. On océasion, | algo drank in oxcess to deal with this stress,

We.rckindled our xelationship and got engaged in Docoriber 2005, Dana nigved to
New Orleans in 2006, and we married in 2007 in a emall, private wedding. Dana
fouiid sigaily work as the political director of the Service Emiployaos International

Union, and our lives got on track.

E always wanted to havo chilitron but novor have. iii part, my carder got away’ from
Ine, kesping me busy all thé tine. The gambling also got inthe way, as Dana
eventually found out, He bailed ing out several times, adding restrictions like taking
control of my accotuts, He feared having children givon our financial instability and
insocurity about fatherhood. Dana also had a rough childhood. He never knew. his _
father and his mother was an addict, His bailing me ont reminded him of when his
mother stole from him when. he was in high school to feed her deug habit. it was
another betrayal. I feel so incredibly sorry for making him feel that way. Sadly
Dana’s lack of desire to have children served as yet another trigger for my —__
depression, and, urge to gamble. He oe a

  

 

 
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In 2011, Dana and I took in a high school student named Jamal Burdette to live

' with us for a couple of years. Dana was a volunteer on the board of directors for a
charter school. Jamal was intelligent but rotated between different family members’
homes and homeless shelters since he lost his mother at six and hia father wag a
deadbeat. We initially got him into community service to defray fines from minor
criminal incidents and tried montoring him. However, it wasn’t enough.

One day, Dana gets off a call and says, "Jamal noeds me; I'm going to pick him up.”
F looked at Dana and asked if Jamal should stay with us. Dana had been. thinking
the saine thing and cams over to hug me. Jamal stayed with us through high school,
the only one of seven siblings to do so, and we helped get him a college scholarship.
He lasted only one semester and then chose to go in his own direction. We reunited
one day when he surprised me with a phone call inviting mo to.lunch. It was so
rewarding to seo his growth and maturity. Jamal hag since moved to Dallas and has
tiroo beautifal daughters. He keeps in touch and never stops thanking us for saving
isalife,

I hawe additionally mentored scores of individuals during my work in the public and
private sectors. Many of them served as interns in my political office, associates in
my legal profession, and volunteers in the Democratic party. I have done my utmost
to mold them into professionals and good honest citizens with a commitment to
service. Ce oS
On July 25, 2018, my father had a stroke while playing golf. We had an extremely
close relationship and spoke daily. He gave me great advice and fatherly love. When
I gambled, I avoided those calls out of embarrassment. I'd also stop going to church.
' My dad would leave messages when he thought I was gambling, He'd say, "I loye _
you and want to heat your voice. You know I-don't care about your titles} baby, I
only want you to be hoalthy.” He also told nie that I was so intelligent and talented
and that if I could just get a handle on my addiction, I could help so many moro,
people. 7. .

On, the day of my father’s stroke, I was at a casino while traveling andignored
several calls before picking up. I left my chips.at the table to take the call and learn
the bad news, To my eternal, shame, I returned to the table and gambled some mora
before returning to my hotel. My addiction had gotten that bad. I tortured myself in
self-loathing and disgust, bawling and crying the entire ride home. My fathor had

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four heart attacks and some small strokes during his life due to stress. I believe in
my heart that I was part of that stress. He died ten days later. I regrettably turned
to gambling and sometimes drinking to soothe the pain of his logs.

T realized that-my addiction was getting-the best of me. I had voluntarily enrolled in
a-state program designed to help people with gambling disorders. Under this “self
exclusion” program offered by Louisiana and Mississippi, a person strugeline with
gambling addiction can sign up to voluntarily exclude oneself from entering a
gainbling establishmont, I consented to allowing officials who see me in a gambling
establishment to escort me out arid issue a summons, Sadly, I violated my yoluntary
ban in both states in 2019. That same year a local news media outlet obtained —
confidential information about the summons, and J issued a public statement about
imy gambling addiction and zelated, struggles. I enrolled in an intensive outpatient
treatment run by Matricia Greens, a certified Gambling Coungelor and repaid
several gambling related loans and tax liabilities, making significant incremental
progress. Regrettably, I still lacked the sirength to control my disease even as I~
continued in treatment.

My Crime:

I used several ploys during my marriage to Dana to feed my gambling addiction. In
the beginning, [ would max out my credit cards and take out bank loans, I then |
agreed to get rid of those cards and pay off loans, only to fund bank accounts I hid
‘from hin funded by consulting fees I had paid there instead ofinto my main.
account. Oncé he discovered that, I no longer had any control over personal
accounts. te .

The last remaining default accounts I did have access to were The Karen Peterson
Campaign Fund and that of a political organization, I misled several friends and
associates telling them I needed to handle some things for the campaign or my
office. ‘They trusted me implicitly and aceepted checks from the fund in exchange for
fictitious services and I used. the majority of the funds to cover my gambling debts. I
sank to another new low, knowingly improperly using these accounts to feed my
addiction. .

Subsequent Events:

I checked into the Center of Recovery (CORE) in Shreveport, Louisiana, on
November 1, 2021, my fifty-second birthday. Ironically, I helped fund CORE and
spent most of my legislative career as a‘staunch advocate for gambling treatment. It
- was the first time in.my“life that I finally traly surrendered my will to my highor
power, God. Fe

 
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I got out of CORE on December 8, 2021, and signed a contract to keep me on track,
Part of the program involves daily weekday Gamblers Anonymous (GA) meetings,
and twice weekly CORE GA Alumni meetings. I also host the Friday GA meoting
selecting a topic and moderating the discussion. On Tuesdays, I participate in an
intensive outpatient group-session run by, Matricia Greene. I: also engage in
individual counseling with her soveral days a week. -

Through the program, I have been to a GA weekend retreat in June 2022, called.
Unity Weekend. I also attended the National Council on Problem Gambling (NCPG)
Conference in Boston but declined to speak when offered because I didn’t want it to
interfere with my recovery. Through GA, I met the presidents of the New York and
New Jersey Councils on Problem Gambling. They have befriended me and helped
with my recovery. I’m scheduled to attend a Women’s Recovery Retreat for
gambling later this month and will remain active with NCPG and other support
groups.

Thave counseled with my Pastor at Saint Peter Claver Church, where I regularly
attend services. I also engage in community service by advocating for more -
treatment at Metyopolitan Human Service District where gambling addiction
' programs are administered. I also helpéd Odyssey House obtain funding for a new
facility in New Oxleans to treat people struggling with gambling addiction. Lastly, I
recently sat for a television interview with Randy Livingston from WWLIV .
discussing our addiction during Gambling Awareness Month, and have been voeal
about helping others avoid the pain and beartache of this disease. My prayer is that
Tswvill be able to continue my service by publicly sharing my experionce, strength
and hope, encouraging other's to sock help before it’s too late. That is what I believe
God. is calling me to do. True Purpose. .

Conelusion:

Tam erief-stricken, knowing I failed my donors, community, friends, an d family.
They have loved and supported me throughout my career, and I have let them. all
down by committing this crime. I am truly sorry. I would ospecially like to apologize
to my mother and husband, without whose steadfast support I would not have —
survived this ordeal of my own making. I have also betrayed the edicts of my faith,
which has been such a big part of my life. The good Lord has blessed me with so
much and I failed when tested. I plan on working hard to regain everyone's trust by
utilizing the. same dedication that helped me carn it to begin with, and redeem
myself with my God. . Lo toe

[ realize that part of this process requires reflectiort and making amends. 'To'that
' end, I wanted to plead guilty at the start of the investigation in November of 2021
and negotiated a plea with the government. It’s also why I have written this
heartfelt letter to this Honorable Court and have undertaken the steps for my

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serious toad to recovery outlined above. I know it will be a long journey, I take one
day ata time, but I remain committed to finally conquering: my demons. Fowever, I
. recognize that my addiction is no excuse for my crime and stand ready to accept the
- consequences of my action, On September 28, 2022, I-will be celebrating one full
year “off the bet.” Praise God. - . : -

I thank your Honor for your time and pray that you might be inclined to return me
to my family and community as soon as possible so that, I may actively begin the
healing process and continue serving others) just now in a different capacity.

 

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